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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 GENERAL MOTORS LLC,
 GENERAL MOTORS COMPANY,                           Case No. 19-cv-13429

                   Plaintiffs,                     Paul D. Borman
 v.                                                United States District Judge

 FCA US LLC, FIAT CHRYSLER                         David R. Grand
 AUTOMOBILES N.V., ALPHONS                         United States Magistrate Judge
 IACOBELLI, JEROME DURDEN,
 MICHAEL BROWN,

                Defendants.
 ______________________________/

 ORDER RESPONDING TO PLAINTIFF GENERAL MOTORS’ JUNE 27, 2020
 LETTER TO THE U.S. COURT OF APPEALS FOR THE SIXTH CIRCUIT, ON
                      CASE NUMBER 20-1616
      At the Noon, July 1, 2020 Zoom webinar, the Court will address a single

question to GM’s CEO, Mary Barra, and to FCA’s CEO, Michael Manley; “Have

you resolved this case?” “Yes” or “No.” No further elaborations or statements by

CEO Mary Barra or CEO Michael Manley will be requested, or permitted.

IT IS SO ORDERED.



Dated: June 29, 2020                       s/Paul D. Borman
                                           Paul D. Borman
                                           United States District Judge
